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Attorney for Defendant




                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION

UNITED STATES OF AMERICA,                          Case No. 3:14-cr-00282-KI

                              Plaintiff,           AFFIDAVIT OF COUNSEL IN
                                                   SUPPORT OF UNOPPOSED MOTION
                         v.                        TO CONTINUE TRIAL DATE

JASON MICHAEL KEATING,

                              Defendant

STATE OF OREGON               )
                              ) ss:
County of Multnomah )

       I, Gerald M. Needham, being duly sworn, do depose and say:

1.     I am counsel for Jason Michael Keating in the above-entitled action.

2.     Mr. Keating has been indicted for one count of Conspiracy To Transport, Receive, And

       Sell Stolen Goods in violation of 18 U.S.C. §371, and one count of Receipt Of Stolen

       Goods in violation of 18 U.S.C. §2315. The indictment contains a forfeiture allegation.

3.     December 9, 2014, is the second trial setting.

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4.    Mr. Keating has been released on pretrial conditions. He remains in compliance with all

      aspects of his release conditions. Counsel has spoken with Mr. Keating concerning the need

      for a continuance. He authorized counsel to represent he consents to a continuance of his

      trial date with the knowledge that the timeframe is excludable under the Speedy Trial Act

      pursuant to 18 U.S.C. §3161(h)(7)(A).

5.    Counsel has received discovery materials. Additional time is required to review discovery

      materials, conduct pretrial investigation, consult with Mr. Keating, and otherwise properly

      prepare for trial.

6.    An additional issue has arisen concerning the restitution amount. Defense counsel is in

      need of additional time to conduct legal research concerning this issue.

7.    Assistant United States Attorney Ryan Bounds has authorized counsel to represent the

      government has no objection.

8.    Mark Cogan, counsel for co-defendant Tung Wing Ho, has moved to continue the trial

      approximately 90 days.

9.    Based on the aforementioned, counsel moves to continue the trial of December 9, 2014, to

      March 10, 2015, or a date thereafter convenient to the Court. The timeframe of the

      requested continuance is excludable from Speedy Trial computations pursuant to 18 U.S.C.

      §3161(h)(7)(A), as additional time is required for pretrial investigation and trial preparation

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      and the ends of justice served by the granting of the continuance outweigh the interests of

      the public and the defendant in a speedier trial.

      DATED this 1st day of December, 2014.

                                                     /s/ Gerald M. Needham
                                                     Gerald M. Needham
                                                     Attorney for Defendant

      SUBSCRIBED AND SWORN to before me this 1st day of December, 2014.

                                                     /s/ Jennifer Louise Lillie
                                                     Notary Public for Oregon
                                                     My commission expires: 3/22/2017




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